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                 NANO FOUNDATION, LTD. and
               7 COLIN LeMahieu
               8                     UNITED STATES DISTRICT COURT
               9                    CENTRAL DISTRICT OF CALIFORNIA
              10
              11 NANO FOUNDATION, LTD., a New ) Case No. 2:19-cv-04237 DDP (PJWx)
                 York non-profit corporation; and )
              12 COLIN LeMAHIEU, an individual,   ) DECLARATION OF PETER
                                                  ) SCOOLIDGE IN SUPPORT OF
              13            Plaintiffs,           ) PLAINTIFFS NANO
                                                  ) FOUNDATION, LTD. AND COLIN
              14       vs.                        ) LEMAHIEU'S OPPOSITION TO
                                                  ) DEFENDANT DAVID C. SILVER'S
              15 DAVID C. SILVER, an individual,  ) MOTION TO STRIKE
                                                  ) COMPLAINT PURSUANT TO CAL.
              16            Defendant.            ) CODE CIV. PROC. §425.16.
                                                  )
              17                                  ) Date: August 5, 2019
                                                  ) Time: 1:30 p.m.
              18                                  ) Judge: Hon. Stephen V. Wilson
                                                  ) Ctrm: 10A - 10th Floor
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LAW OFFICES
ROSENFELD,                                                1
 MEYER &
SUSMAN LLP                     DECLARATION OF PETER SCOOLIDGE IN SUPPORT OF PLAINTIFFS'
                   520588.01    OPPOSITION TO DEFENDANT' S MOTION TO STRIKE COMPLAINT
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               1                          DECLARATION OF PETER SCOOLIDGE
               2               I, PETER SCOOLIDGE, declare as follows:
               3               1.   I have personal knowledge of the facts set forth in this Declaration and,
               4 if called as a witness, could and would testify competently to such facts under oath.
               5 I was counsel to the defendants in Brola, et al v. Nano, et al., Eastern District of
               6 New York Case No. 1:18-cv-02049 (the "Brola Litigation"). My firm represents
               7 many clients involved in the cryptocurrency industry, such that I am now familiar
               8 with that industry and its stakeholders. I make this Declaration in support of
               9 Plaintiffs' Opposition To Defendant David C. Silver's Motion To Strike Complaint
              10 Pursuant to Cal. Code Civ. Proc. §425.16.
              11               2.   I have first hand knowledge of the speech Silver gave at the Blockchain
              12 Law Summit 2018 (the "Summit") entitled Cryptocurrency, Blockchain and US
              13 Litigation - Yesterday, Today and Tomorrow (the "Speech"). I was present at the
              14 event. Attached hereto as Exhibit "A" is a true and correct copy of that speech.
              15               3.   The Summit was a large cryptocurrency industry conference, with
              16 founders from major cryptocurrency startups in attendance, along with industry
              17 investors and scholars. I am acquainted with these individuals because of my work
              18 in the cryptocurrency field. The conference was a major cryptocurrency event that
              19 drew attendees from many organizations operating in the industry.
              20               4.   Although I have never seen Colin LeMahieu recognized on the street,
              21 by sight or by name, I have found that those who work in the cryptocurrency
              22 industry know that he developed Nano and is the chief executive of Nano
              23 Foundation, Ltd. While popular, the cryptocurrency industry is relatively small,
              24 with few public developers or executives. Some are anonymous or go by
              25 pseudonyms. LeMahieu is readily recognized and greeted at industry events and,
              26 prior to Silver's speech, developed a positive reputation within the industry.
              27               5.   By the time of the Summit, Nano's burn and the fact that its faucet were
              28 shut off was widely known.
LAW OFFICES
ROSENFELD,                                                       2
 MEYER &
SUSMAN LLP                            DECLARATION OF PETER SCOOLIDGE IN SUPPORT OF PLAINTIFFS'
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               1               6.    Given my firm's work representing cryptocurrencies, I am intimately
               2 familiar with different scams and acts undertaken within the industry. An "exit
               3 scam" is a complex theft that occurs when the owners of a purported cryptocurrency
               4 sell all or substantially all of their holdings for top dollar. They then leave the
               5 cryptocurrency unsupported, they themselves disappear, they shut down dummy
               6 exchanges that they control on which the coin was traded, they steal for themselves
               7 some or all coins from those exchanges in so acting, they sell the cryptocurrency
               8 stolen from those exchanges on other exchanges for top dollar before the market
               9 becomes aware and can respond to their theft, and they thereby devalue those
              10 remaining, unsupported coins to next to nothing. This species of confidence trick
              11 involving massive theft and fraud is widely known in the cryptocurrency industry;
              12 the term "exit scam" is well-known to those industry insiders in attendance at the
              13 Blockchain Summit
              14               7.    Attached hereto as Exhibit B is a true and correct copy of the
              15 Settlement Agreement entered into in the Brola Litigation. In that action, Silver
              16 represented only Alex Brola, a natural person.
              17               I declare under the penalty of perjury under the laws of the State of California
              18 that the foregoing is true and correct.
              19               Executed on July 15, 2019 at New York, New York.
              20
              21                                                       _______________________________
                                                                       PETER SCOOLIDGE
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LAW OFFICES
ROSENFELD,                                                         3
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